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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
       Plaintiff,                   §            Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §            LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
       Defendants.                  §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
       Plaintiff,                   §            Case No: 2:15-cv-01867-JRG-RSP
                                    §
vs.                                 §            CONSOLIDATED CASE
                                    §
J.D. POWER & ASSOCIATES             §
                                    §
       Defendants.                  §
___________________________________ §

                       ORDER OF DISMISSAL WITH PREJUDICE

       On this day, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

dismiss with prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC

(“Symbology”) and Defendant J.D. Power & Associates. Having considered the Motion and the

pleadings in this case, the Court is of the opinion that the Motion should be, and is hereby

GRANTED.

       Therefore, IT IS ORDERED that all claims by and between parties have are hereby

DISMISSED WITH PREJUDICE, with each party to bear its own costs, attorneys’ fees and other

litigation expenses.
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      SIGNED this 3rd day of January, 2012.
      SIGNED this 6th day of April, 2016.




                                              ____________________________________
                                              ROY S. PAYNE
                                              UNITED STATES MAGISTRATE JUDGE
